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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


MARCUS D. MCQUEEN,                           )
                                             )
        Plaintiff,                           )
                                             )            CIVIL ACTION NO.
        v.                                   )              2:20cv389-MHT
                                             )                   (WO)
DEPARTMENT OF CORRECTION,                    )
et al.,                                      )
                                             )
        Defendants.                          )

                                 OPINION AND ORDER

       Pursuant to 42 U.S.C. § 1983, plaintiff, a state

inmate, filed this lawsuit challenging the conditions

of confinement at the Fountain Correctional Facility

and     complaining          that       guards       at     the   facility       are

intentionally subjecting inmates to unnecessary uses of

force.         This    lawsuit          is       before    the    court    on    the

recommendation of the United States Magistrate Judge

that     the    case       be    transferred         to     the   United    States

District       Court       for    the   Southern          District   of    Alabama

pursuant       to     28    U.S.C.       §       1404(a).         There    are    no

objections to the recommendation.                         After an independent
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and de novo review of the record, the court concludes

that the magistrate judge’s recommendation should be

adopted.

    Accordingly, it is ORDERED as follows:

    (1) The magistrate judge's recommendation (doc. no.

5) is adopted.

    (2) This case is transferred to the United States

District   Court    for   the    Southern       District   of    Alabama

pursuant to 28 U.S.C. § 1404(a).

    (3) The pending motion is left for resolution by

the transferee court.

    The    clerk    of    the    court     is    DIRECTED       to     take

appropriate steps to effect the transfer.

    This case is closed in this court.

    DONE, this the 30th day of June, 2020.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
